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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:13CR106

      vs.
                                                                 ORDER
THOMAS SPENCER,

                    Defendant.

      This matter is before the court on the defendant request (Filing No. 491) for a
copy of the Network Investigative Technique warrant issued in “Operation Torpedo.” It
appears the referenced warrant was filed (see Filing No. 186 - Ex. 1) in connection with
a consolidated hearing held on April 17, 2014, and associated with the defendant’s
motion to suppress (Filing No. 140). The exhibits received during the hearing were
restricted in accordance with federal and local rules because of the content. See Filing
No. 187 - Transcript p. 33.      Accordingly, the government shall respond to the
defendant’s request no later than Monday, July 18, 2016, at noon.


      IT IS SO ORDERED.


      Dated this 13th day of July, 2016.

                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
